                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA
                            1:20-CV-00442-CCE-JLW


FOOD LION, LLC, and MARYLAND
AND VIRGINIA MILK PRODUCERS
COOPERATIVE ASSOCIATION, INC.,

       Plaintiffs,

v.                                                       NOTICE OF SPECIAL
                                                           APPEARANCE
DAIRY FARMERS OF AMERICA, INC.,

       Defendant.




       Pursuant to Local Rule 83.1(d), please take notice of the special appearance of

Michael G. Egge of the law firm of Latham & Watkins LLP as counsel of record for

Dairy Farmers of America, Inc. (“Defendant”) in the above-captioned civil action.

       Mr. Egge certifies that he is an active member in good standing of the bars of the

State of Virginia and the District of Columbia.

       Mr. Egge further certifies that he understands that by entering an appearance he

submits to the disciplinary jurisdiction of the court for any misconduct in connection with

the above-captioned civil action for which he is specially appearing.

       Mr. Egge represents that he will ensure that an attorney who is familiar with the

case and has authority to control the litigation will be at all conferences, hearings, trials

and other proceedings.



                                             1


      Case 1:20-cv-00442-CCE-JLW Document 42 Filed 07/09/20 Page 1 of 2
      Mr. Egge has associated with Brent F. Powell, who is a member of the bar of this

Court and also serves as counsel of record for Defendant.

      Mr. Egge has registered as a filing user with the Court’s CM/ECF system under

Local Rule 5.3(a)(1).

      Respectfully submitted this the 9th day of July, 2020.




                                         /s/ Michael G. Egge
                                         Michael G. Egge
                                         Latham & Watkins LLP
                                         555 Eleventh Street, NW
                                         Washington, DC 20004-1304
                                         Tel: 202-637-2285
                                         Email: Michael.Egge@lw.com


                                         /s/ Brent F. Powell
                                         Brent F. Powell (N.C. Bar No. 41938)
                                         WOMBLE BOND DICKINSON (US) LLP
                                         One West Fourth Street
                                         Winston Salem, NC 27101
                                         Tel: 336-728-7023
                                         Email: Brent.Powell@wbd-us.com

                                         Attorneys for Defendant




                                            2


      Case 1:20-cv-00442-CCE-JLW Document 42 Filed 07/09/20 Page 2 of 2
